
Elizabeth M. Haddix, Attorney at Law, Pittsboro, For Smith, Carson, et al.
Marc X. Sneed, Assistant Attorney General, For State of North Carolina.
Amar Majmundar, Special Deputy Attorney General, For State of North Carolina.
Mark Dorosin, Attorney at Law, For Smith, Carson, et al.
Edwin A. Pressly, Attorney at Law, Statesville, For Smith, Carson, et al.
Elizabeth A. Fisher, Assistant Solicitor General, For State of North Carolina.
ORDER
Upon consideration of the petition for discretionary review, filed by Claimant on the 11th of March 2016 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Denied by order of the Court in conference, this the 9th of June 2016."
The following order has been entered on the motion filed on the 11th of March 2016 by Claimant to Consolidate Appeals:
"Motion Allowed by order of the Court in conference, this the 9th of June 2016."
Accordingly, only those issues which are the basis of the dissenting opinion in the Court of Appeals shall be presented to this Court in briefs. The Claimant's new brief so limited in scope shall be filed with this Court not more than 30 days from the date of certification of this order.
